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 Counsel for Highland Capital Management, L.P.

                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

                                                         §
 HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                         §
                                                         §   Adv. Proc. No. 21-03003-sgj
                                   Plaintiff,
                                                         §
                                                         §
 vs.
                                                         §
                                                         §   Case No. 3:21-cv-01010-E
 JAMES DONDERO, NANCY DONDERO, AND THE
                                                         §
 DUGABOY INVESTMENT TRUST,
                                                         §
                                                         §
                                   Defendants.
                                                         §
                                                         §




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                                                    §
 HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                    §
                                                    §
                                                    §   Adv. Proc. No. 21-03004-sgj
                              Plaintiff,
                                                    §
 vs.                                                §
                                                    §
                                                    §   Case No. 3:21-cv-00881-X
 HIGHLAND CAPITAL MANAGEMENT FUND                   §
 ADVISORS, L.P.,                                    §
                                                    §
                                                    §
                              Defendant.            §
                                                    §
                                                    §
 HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                    §
                                                    §
                              Plaintiff,                Adv. Proc. No. 21-03005-sgj
                                                    §
                                                    §
 vs.
                                                    §
                                                    §
 NEXPOINT ADVISORS, L.P., JAMES                         Case No. 3:21-cv-00880-C
                                                    §
 DONDERO, NANCY DONDERO, AND
                                                    §
 THE DUGABOY INVESTMENT TRUST,
                                                    §
                                                    §
                              Defendants.
                                                    §
 HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                    §
                                                    §
                            Plaintiff,                  Adv. Proc. No. 21-03006-sgj
                                                    §
                                                    §
 vs.
                                                    §
                                                    §
 HIGHLAND CAPITAL MANAGEMENT                            Case No. 3:21-cv-01378-N
                                                    §
 SERVICES, INC., JAMES DONDERO,
                                                    §
 NANCY DONDERO, AND THE DUGABOY
                                                    §
 INVESTMENT TRUST,
                                                    §
                                                    §
                            Defendants.




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                                               §
 HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                               §
                                               §
                            Plaintiff,         § Adv. Proc. No. 21-03007-sgj
                                               §
 vs.                                           §
                                               § Case No. 3:21-cv-01379-X
 HCRE PARTNERS, LLC (n/k/a NexPoint            §
 Real Estate Partners, LLC), JAMES             §
 DONDERO, NANCY DONDERO, AND                   §
 THE DUGABOY INVESTMENT TRUST,                 §
                                               §
                                               §
                            Defendants.        §

       APPENDIX IN SUPPORT OF HIGHLAND CAPITAL MANAGEMENT, L.P.’S
        MOTION FOR PARTIAL SUMMARY JUDGMENT IN NOTES ACTIONS




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  Ex.                                   Description                                   Appx.#

    1.      Complaint against HCMFA (Adv. Pro. No. 21-3004)                            1-21

    2.      Amended Complaint against NPA et al. (Adv. Pro. No. 21-3005)               22-95

    3.      Amended Complaint against HCMS (Adv. Pro. No. 21-3006)                    96-179

    4.      Amended Complaint against HCRE et al (Adv. Pro. No. 21-3007)             180-263

    5.      HCMFA’s Original Answer (Adv. Pro. No. 21-3004)                          264-271

    6.      HCMS’s Answer to Plaintiff’s Complaint (Adv. Pro. No. 21-3006)           272-281

    7.      HCRE’s Answer to Plaintiff’s Complaint (Adv. Pro. No. 21-3007)           282-291
            HCMS’s Motion For Leave to File Amended Answer and Brief In
    8.      Support (Adv. Pro. No. 21-3006)                                          292-312
            HCRE’s Motion For Leave to File Amended Answer and Brief In
    9.      Support (Adv. Pro. No. 21-3007)                                          313-333
            HCMFA’s Motion For Leave to Amend Answer (Adv. Pro. No. 21-
    10.     3004)                                                                    334-383
            NexPoint’s Motion For Leave to Amend Answer (Adv. Pro. No. 21-
    11.     3005)                                                                    384-393
            HCMS’s First Amended Answer to Plaintiff’s Complaint (Adv. Pro.
    12.     No. 21-3006)                                                             394-404

    13.     HCMFA’s Amended Answer (Adv. Pro. No. 21-3004)                           405-414

    14.     NexPoint’s First Amended Answer (Adv. Pro. No. 21-3005)                  415-423

    15.     NexPoint’s Answer to Amended Complaint (Adv. Pro. No. 21-3005)           424-437

    16.     HCMS’s Answer to Amended Complaint (Adv. Pro. No. 21-3006)               438-453

    17.     HCRE’s Answer to Amended Complaint (Adv. Pro. No. 21-3007)               454-470
            HCMFA’s Objections and Responses to Plaintiff’s Requests For
    18.     Admissions, Interrogatories, and Requests For Production (Adv. Pro.      471-478
            No. 21-3004)
            NexPoint’s Objections and Responses to Plaintiff’s Requests For
    19.     Admissions, Interrogatories, and Requests For Production (Adv. Pro.      479-487
            No. 21-3005)
            HCMS’s Responses to Highland Capital Management, L.P.’s First
    20.     Requests For Admissions (Adv. Pro. No. 21-3006)                          488-492




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  Ex.                                    Description                                    Appx.#
            HCMS’s Answers to Highland Capital Management, L.P.’s First Set of
    21.     Interrogatories (Adv. Pro. No. 21-3006)                                    493-498
            HCRE’s Responses to Debtor Highland Capital Management, L.P.’s
    22.     Requests For Admissions (Adv. Pro. No. 21-3007)                            499-505
            HCRE’s Answers to Debtor Highland Capital Management, L.P.’s First
    23.     Set of Interrogatories (Adv. Pro. No. 21-3007)                             506-512
            James Dondero's Objections and Responses to Plaintiff’s Requests For
    24.     Admission, Interrogatories, and Requests For Production (Adv. Pro.         513-529
            No. 21-3003)
            Nancy Dondero's Objections and Responses to Plaintiff’s Requests For
    25.     Admission, Interrogatories, and Requests For Production (Adv. Pro.         530-546
            No. 21-3003)
            The Dugaboy Investment Trust’s Objections and Responses to
    26.     Plaintiff’s Requests For Admission, Interrogatories, and Requests For      547-562
            Production (Adv. Pro. No. 21-3003)
            NexPoint's Objections and Responses to Plaintiff’s Requests For
    27.     Admission, Interrogatories, and Requests For Production (Adv. Pro.         563-576
            No. 21-3005)
            HCMS’s Objections and Responses to Plaintiff’s Requests For
    28.     Admission, Interrogatories, and Requests For Production (Adv. Pro.         577-590
            No. 21-3006)
            HCRE’s Objections and Responses to Plaintiff’s Requests For
    29.     Admission, Interrogatories, and Requests For Production (Adv. Pro.         591-604
            No. 21-3007)
            Fourth Amended and Restated Agreement of Limited Partnership of
    30.     Highland Capital Management, L.P.                                          605-641
            James Dondero’s Answer to Amended Complaint (Adv. Pro. No. 21-
    31.     3003)                                                                      642-657
            Amended Complaint against James Dondero, et. al (Adv. Pro. No. 21-
    32.     3003)                                                                      658-728
            June 3, 2019 Management Representation Letter (J. Dondero 5/8/21
    33.     Depo., Ex. 16) (P. Burger 7/30/21 Depo., Ex. 1)                            729-740
            Highland’s Consolidated Financial Statements, dated December 31,
    34.     2018 (J. Dondero 5/8/21 Depo., Ex. 15) (P. Burger 7/30/21 Depo.,           741-787
            Ex. 4)
    35.     HCMFA’s Incumbency Certificate, April 2019                                 788-789

    36.     Email string re 15(c) Follow up (10/2/21 – 10/6/21)                        790-794

    37.     NexPoint’s Incumbency Certificate                                          795-796



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    38.     Schedule of HCMLP receipts from other Dondero-related notes               797-798

    39.     HCMLP Operating Results (February 2018) (Adv. Pro. No. 21-3003)           799-811
            Summary of Assets and Liabilities for Non-Individuals (Adv. Pro. No.
    40.     21-3003) (J. Dondero 5/8/21 Depo., Ex. 17)                                812-815
            December 2019 Monthly Operating Report (Adv. Pro. No. 21-3003)
    41.     (J. Dondero 5/8/21 Depo., Ex. 22)                                         816-825

    42.     September 2020 Monthly Operating Report (Adv. Pro. No. 21-3003)           826-835
            Dondero Promissory Note in the amount of $7.9m dated January 18,
    43.     2018                                                                      836-838

    44.     INTENTIONALLY OMITTED                                                       839
            HCMFA’s Consolidated Financial Statements and Supplemental
    45.     Information (December 31, 2018) (Adv. Pro. No. 21-3004) (FILED              840
            UNDER SEAL)
            NexPoint’s 2019 Audited Financial Statements (FILED UNDER
    46.     SEAL)                                                                       841
            Plaintiff’s Amended Notice of Rule 30(b)(6) Deposition to NexPoint
    47.     Advisors, L.P. (Adv. Pro. No. 21-3005)                                    842-847
            Plaintiff’s Amended Notice of Rule 30(b)(6) Deposition to HCMS
    48.     (Adv. Pro. No. 21-3006)                                                   848-853
            Plaintiff’s Amended Notice of Rule 30(b)(6) Deposition to HCRE
    49.     (Adv. Pro. No. 21-3007)                                                   854-859

    50.     Jim Dondero 2017 PY Comp Statement                                        860-861

    51.     Jim Dondero 2018 PY Comp Statement                                        862-863

    52.     Jim Dondero 2019 PY Comp Statement                                        864-865

    53.     5/2/19 e-mail and attachment (spreadsheet)                                866-869

    54.     5/2/19 e-mail and attachment (Promissory Note)                            870-873

    55.     List of Wire Transfers (5/2/19)                                           874-875

    56.     5/3/19 e-mail                                                             876-877

    57.     5/3/19 Promissory Note                                                    878-880

    58.     13 Week Cash Flows 12.14.20                                               881-882




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    59.     Supplemental 15(c) Information Request 10.23.20                          883-890

    60.     7.31.20 HCMLP Requests                                                   891-895

    61.     INTENTIONALLY OMITTED                                                      896

    62.     INTENTIONALLY OMITTED                                                      897

    63.     HCMLP Audited Financial Statements for 2008                              898-954

    64.     HCMLP Audited Financial Statements for 2009                              955-1002

    65.     HCMLP Audited Financial Statements for 2010                             1003-1050

    66.     HCMLP Audited Financial Statements for 2011                             1051-1100
            James Dondero 2019 Form W-2 (NexPoint Residential Trust Inc.)
    67.                                                                             1101-1103
            (REDACTED)
            James Dondero 2017 Form W-2 (NexPoint Residential Trust Inc.)
  67-2.                                                                             1104-1107
            (REDACTED)
  67-3.     James Dondero 2013 Form 1040 (pdf page 279 of 335) (REDACTED)           1108-1110

  67-4.     James Dondero 2014 Form 1040 (pdf page 235 of 290) (REDACTED)           1111-1113

  67-5.     James Dondero 2015 Form 1040 (pdf page 200 of 254) (REDACTED)           1114-1116

  67-6.     James Dondero 2016 Form 1040 (pdf page 182 of 235) (REDACTED)           1117-1119

  67-7.     James Dondero 2017 Form 1040 (pdf page 170 of 225) (REDACTED)           1120-1122

  67-8.     James Dondero 2018 Form 1040 (pdf page 248 of 300) (REDACTED)           1123-1125

  67-9.     James Dondero 2019 Form 1040 (pdf page 242 of 301) (REDACTED)           1126-1128

    68.     Jim Dondero 2016 PY Comp Statement                                      1129-1130

    69.     HCMLP Audited Financial Statements for 2014                             1131-1180

    70.     HCMLP Audited Financial Statements for 2015                             1181-1235

    71.     HCMLP Audited Financial Statements for 2016                             1236-1286
            Highland’s Audited Financial Statements for 2017 (J. Dondero 5/8/21
    72.                                                                             1287-1335
            Depo., Ex. 13) (P. Burger 7/30/21 Depo., Ex. 2)
    73.     Schedule of HCMLP receipts from Dondero notes                           1336-1337



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  Ex.                                   Description                                   Appx.#
            Dondero Promissory Note in the amount of $3.825m dated February 2,
    74.                                                                             1338-1340
            2020 (J. Dondero 5/8/21 Depo., Ex. 1)
            HCMLP Operating Results (February 2018) (J. Dondero 5/8/21 Depo.,
    75.     Ex. 2)                                                                  1341-1353
            Dondero Promissory Note in the amount of $2.5m dated August 1,
    76.                                                                             1354-1356
            2018 (Adv. Pro. No. 21-3003) (J. Dondero 5/8/21 Depo., Ex. 3)
            Dondero Promissory Note in the amount of $2.5m dated August 13,
    77.                                                                             1357-1359
            2018 (J. Dondero 5/8/21 Depo., Ex. 4)
            HCMLP Operating Results (August 2018) (J. Dondero 5/8/21 Depo.,
    78.     Ex. 5)                                                                  1360-1369

    79.     December 3, 2020 Demand Letter (J. Dondero 5/8/21 Depo., Ex. 6)         1370-1373
            James Dondero’s Original Answer (Adv. Pro. No. 21-3003) (J.
    80.     Dondero 5/8/21 Depo., Ex. 7)                                            1374-1382
            James Dondero's Objections and Responses to Highland Capital
    81.     Management, L.P.'s First Rebquest For Admissions (Adv. Pro. No. 21-     1383-1389
            3003) (J. Dondero 5/8/21 Depo., Ex. 8)
            James Dondero's Objections and Responses to Highland Capital
    82.     Management, L.P.'s First Set of Interrogatories (Adv. Pro. No. 21-      1390-1396
            3003) (J. Dondero 5/8/21 Depo., Ex. 9)
            James Dondero's Amended Answer (Adv. Pro. No. 21-3003) (J.
    83.                                                                             1397-1405
            Dondero 5/8/21 Depo., Ex. 10)
            James Dondero's Objections and Responses to Highland Capital
    84.     Management, L.P.'s Second Request For Admissions (Adv. Pro. No.         1406-1411
            21-3003) (J. Dondero 5/8/21 Depo., Ex. 11)
            James Dondero's Objections and Responses to Highland Capital
    85.     Management, L.P.'s Second Set of Interrogatories (Adv. Pro. No. 21-     1412-1419
            3003) (J. Dondero 5/8/21 Depo., Ex. 12)
            May 18, 2018 Management Representation Letter (J. Dondero 5/8/21
    86.     Depo., Ex. 14)                                                          1420-1431
            Statement of Financial Affairs For Nonindividuals Filing Bankruptcy
    87.                                                                             1432-1474
            (Case No. 19-34054) (J. Dondero 5/8/21 Depo., Ex. 19)
            October 2019 Monthly Operating Report (Case No. 19-34054) (J.
    88.                                                                             1475-1486
            Dondero 5/8/21 Depo., Ex. 20)
            November 2019 Monthly Operating Report (Case No. 19-34054) (J.
    89.                                                                             1487-1496
            Dondero 5/8/21 Depo., Ex. 21)
            Exhibit C, Liquidation Analysis/Financial Projections (Case No. 19-
    90.                                                                             1497-1505
            34054) (J. Dondero 5/8/21 Depo., Ex. 23)
            Highland Capital Management LP Financial Projections (1/28/21) (J.
    91.                                                                             1506-1514
            Dondero 5/8/21 Depo., Ex. 24)
    92.     2017 Workpapers (P. Burger 7/30/21 Depo., Ex. 3)                        1514-1530




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    93.     2018 Workpapers (P. Burger 7/30/21 Depo., Ex. 5)                    1531-1550

    94.     Peet Burger 7/30/21 Deposition Transcript                           1551-1585

    95.     James Dondero 1/5/21 Deposition Transcript                          1586-1638

    96.     James Dondero 5/28/21 Deposition Transcript                         1639-1701

    97.     James Dondero 6/1/21 Deposition Transcript                          1702-1739

    98.     James Dondero 10/29/21 Deposition Transcript                        1740-1810

    99.     James Dondero 11/4/21 Deposition Transcript                         1811-1872

    100. Nancy Dondero 10/18/21 Deposition Transcript                           1873-1956

    101. Alan Johnson (Expert)11_02_21 Deposition Transcript                    1957-2044

    102. INTENTIONALLY OMITTED                                                     2045

    103. INTENTIONALLY OMITTED                                                     2046

    104. INTENTIONALLY OMITTED                                                     2047

    105. Frank Waterhouse 10/19/21 Deposition Transcript                        2048-2178

    106. Payment from James Dondero dated 12/08/17                              2179-2183

    107. Payment from James Dondero dated 12/18/17                              2184-2194

    108. Payment from James Dondero dated 02/14/19                              2195-2206

    109. Payment from James Dondero dated 03/13/2019                            2207-2217
            Payments from James Dondero dated 05/02/19, 05/03/19, 05/07/19,
    110.                                                                        2218-2231
            05/23/19
    111. Payment from James Dondero dated 06/17/19                              2232-2237

    112. Payment from James Dondero dated 12/23/19                              2238-2245

    113. Payment from HCMFA dated 05/29/19                                      2246-2259

    114. Payment from HCMFA dated 09/05/19                                      2260-2263

    115. Payment from HCMFA dated 10/03/19                                      2264-2274



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    116. Payment from HCRE dated 09/30/19                                    2275-2283

    117. Payment from NPA dated 04/16/2019                                   2284-2293

    118. Payment from NPA dated 06/19/19                                     2294-2299

    119. Payment from NPA dated 07/09/19                                     2300-2308

    120. Payments from HCMSI and NPA dated 03/05/19 and 03/29/19             2309-2319

    121. Payments from HCMSI and NPA dated 08/09/19, 08/13/19, 08/21/19      2320-2323

    122. Payments from HCRE, HCMSI, NPA dated 12/09/19, 12/30/19             2324-2331

    123. Payments from HCMFA and NPA dated 06/04/19                          2332-2341

    124. Payment from NPA, HCMSI, HCRE dated 01/14/21 and 01/21/21           2342-2347

    125. Payment to James Dondero dated 02/02/18                             2348-2363

    126. Payments to James Dondero dated 08/01/18 and 08/13/18               2364-2367

    127. Payment to HCMSI dated 05/29/15                                     2368-2371

    128. Payment to HCMSI dated 10/01/15, 10/02/15, and 10/30/15             2372-2379

    129. Payment to HCMSI dated 10/27/15                                     2380-2383

    130. Payment to HCMSI dated 10/28/15                                     2384-2387

    131. Payment to HCMSI dated 11/23/15                                     2388-2393

    132. Payment to HCMSI dated 11/24/15                                     2394-2397

    133. Payment to HCMSI dated 02/10/16                                     2398-2404

    134. Payment to HCMSI dated 02/11/16                                     2405-2421

    135. Payment to HCMSI dated 04/05/16                                     2422-2434

    136. Payment to HCMSI dated 05/04/16                                     2435-2438

    137. Payment to HCMSI dated 07/01/16                                     2439-2443

    138. Payment to HCMSI dated 08/05/16                                     2444-2458



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  Ex.                              Description                              Appx.#

    139. Payment to HCMSI dated 08/19/16                                   2459-2463

    140. Payment to HCMSI dated 09/22/16                                   2464-2476

    141. Payment to HCMSI dated 12/12/16                                   2477-2481

    142. Payment to HCMSI dated 03/31/17                                   2482-2486

    143. Payment to HCMSI dated 03/26/18                                   2487-2490

    144. Payment to HCMSI dated 06/25/18                                   2491-2494

    145. Payment to HCMSI dated 05/29/19                                   2495-2508

    146. Payment to HCMSI dated 06/26/19                                   2509-2518

    147. Payments to HCMFA dated 05/02/19 and 05/03/19                     2519-2532

    148. Payment to HCRE dated 11/27/13                                    2533-2536

    149. Payment to HCRE dated 01/09/14                                    2537-2544

    150. Payment to HCRE dated 01/30/14                                    2545-2548

    151. Payment to HCRE dated 03/28/14                                    2549-2556

    152. Payment to HCRE dated 01/26/15                                    2557-2560

    153. Payment to HCRE dated 04/02/15                                    2561-2567

    154. Payment to HCRE dated 10/12/17                                    2568-2579

    155. Payment to HCRE dated 10/15/18                                    2580-2589

    156. Payment to HCRE dated 09/25/19                                    2590-2598

    157. Payment to NPA dated 08/21/14                                     2599-2603

    158. Payment to NPA dated 10/01/14                                     2604-2611

    159. Payment to NPA dated 11/14/14                                     2612-2615

    160. Payment to NPA dated 01/29/15                                     2616-2620

    161. Payment to NPA dated 07/22/15                                     2621-2636



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    162. Robert Half Legal Invoices dated 05/06/21 and 5/20/21                  2637-2640

    163. Robert Half Legal Invoice dated 06/17/21                               2641-2643

    164. Robert Half Legal Invoice dated 07/01/21                               2644-2646

    165. Robert Half Legal Invoice dated 07/15/21                               2647-2649

    166. Robert Half Legal Invoice dated 08/19/21                               2650-2652

    167. Robert Half Legal Invoice dated 09/16/21                               2653-2655

    168. Robert Half Legal Invoices dated 09/02/21 and 09/30/21                 2656-2659

    169. Highland December 2020 Billing Detail                                  2660-2671

    170. Highland January 2021 Billing Detail                                   2672-2694

    171. Highland February 2021 Billing Detail                                  2695-2700

    172. Highland March 2021 Billing Detail                                     2701-2727

    173. Highland April 2021 Billing Detail                                     2728-2764

    174. Highland May 2021 Billing Detail                                       2765-2813

    175. Highland June 2021 Billing Detail                                      2814-2852

    176. Highland July 2021 Billing Detail                                      2853-2878

    177. Highland August 2021 Billing Detail                                    2879-2883

    178. Highland Supplemental August 2021 Billing Detail                       2884-2904

    179. Highland September 2021 Billing Detail                                 2905-2914

    180. Highland October 2021 Billing Detail                                   2915-2945

    181. Declaration of Dennis C. Sauter, Jr. (Adv. Pro. No. 21-3004)           2946-2977

    182. GAF Resolution Memo dated May 28, 2019                                 2978-2980

    183. INTENTIONALLY OMITTED                                                    2981

    184. Defendant James Dondero’s Rule 26 Initial Disclosures                  2982-2990



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  Ex.                                    Description                                    Appx.#
            Plaintiff's Third Amended Notice of Rule 30(b)(6) Deposition to
    185.                                                                               2991-2998
            HCMFA (Adv. Pro. No. 21-3004)
    186. INTENTIONALLY OMITTED                                                           2999

    187. INTENTIONALLY OMITTED                                                           3000
            Email from David Klos to the Debtor’s Corporate Accounting group,
    188.    with a copy to Melissa Schroth, dated February 2, 2018 (Adv. Pro. No.      3001-3002
            21-3003)
            Email dated February 2, 2018 confirming a wire transfer in the amount
    189.    of $3,825,000 from the Debtor to James Dondero (Adv. Pro. No. 21-          3003-3004
            3003)
            (a) Email from Blair Hillis to David Klos and the Debtor’s Corporate
            Accounting group, with a copy to Melissa Schroth, dated August 1,
    190.    2018 and (b) an email from David Klos to the Debtor’s Corporate            3005-3006
            Accounting group, with a copy to Melissa Schroth, dated August 1,
            2018 (Adv. Pro. No. 21-3003)
            Email chain re Objections to Rule 30(b)(6) Notices (October 7 – 15,
    191.                                                                               3007-3012
            2021)
    192. Dustin Norris 12/1/21 Deposition Transcript                                   3013-3082

    193. Dennis C. Sauter 11/17/21 Deposition Transcript                               3083-3125

    194. Kristin Hendrix 10/27/21 Deposition Transcript                                3126-3180

    195. David Klos 10/27/21 Deposition Transcript                                     3181-3238
            Debtor’s back-up for the December Monthly Operating Report, titled
    196.                                                                               3239-3240
            “December 2019 Due From Affiliates” (Adv. Pro. No. 21-3003)
            Debtor’s back-up for the September Monthly Operating Report, titled
    197.                                                                               3241-3242
            “September 2020 Due From Affiliates” (Adv. Pro. No. 21-3003)
            Debtor’s back-up for the January 2021 Monthly Operating Report,
    198.                                                                               3243-3244
            titled “January 2021 Due From Affiliates” (Adv. Pro. No. 21-3003)
            Debtor’s January 2021 Affiliates Loan Receivables Summary (Adv.
    199.                                                                               3245-3246
            Pro. No. 21-3003)

    200. Amortization Schedule (K. Hendrix 10/27/21 Depo., Ex. 14)                     3247-3258

             Debtor’s Motion to Cause Distributions to Certain “Related Entities”
    201.                                                                               3259-4125
            (Case No. 19-34054)

            Committee’s Objection to Debtor’s Motion to Cause Distributions to
    202.                                                                               4126-4140
            Certain “Related Entities” (Case No. 19-34054)



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  Ex.                                    Description                                     Appx.#

         Joinder of Acis Capital Management, L.P. and Acis Capital
    203. Management GP, LLC to Committee’s Objection to Debtor’s Motion to              4141-4150
         Cause Distributions to Certain “Related Entities” (Case No. 19-34054)

             Debtor’s Reply in Support of Motion to Cause Distributions to Certain
    204.                                                                                4151-4161
            “Related Entities” (Case No. 19-34054)
            NexPoint’s Amended and Restated Shared Services Agreement as of
    205.                                                                                4162-4181
            January 1, 2018 (Adv. Pro. No. 21-3005)

    206. Transcript of February 2, 2021 Hearing                                         4182-4477

    207. Transcript of February 3, 2021 Hearing                                         4478-4735




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 Dated: December 18, 2021.          PACHULSKI STANG ZIEHL & JONES LLP

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